  Case 3:20-cv-00355-NJR Document 9 Filed 06/25/20 Page 1 of 1 Page ID #18




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS



PATRICIA KENNEDY, Individually,     :
                                    : Case No.: 3:20-cv-00355
             Plaintiff,             :
v.                                  :
                                    :
JAI YOGESHWAR LODGING, L.L.C. :
d/b/a AMERICAS BEST VALUE INN :
WEST FRANKFORT, an Illinois Limited :
Liability Company,                  :

            Defendant.
____________________________________

         NOTICE OF VOLUNTARY DISMISSAL OF CASE WITH PREJUDICE

    Plaintiff, by and through undersigned counsel, hereby moves this court to dismiss the instant

case with prejudice pursuant to a settlement agreement entered into between the parties.

FOR THE PLAINTIFF:
/s/ Kimberly A. Corkill
Kimberly A. Corkill, Of Counsel
Thomas B. Bacon, P.A.
644 North Mc Donald St.
Mt. Dora, FL 32757
ph. (954) 478-7811
kimberlyatlaw@gmail.com
Florida Bar. Id. No. 84942
Attorneys for Plaintiff

                                CERTIFICATE OF SERVICE

     I hereby certify that June 25, 2020 I filed the foregoing using the Clerk of Court’s CM/ECF e-
filing system, which will serve all counsel of record electronically.

                                            /s/Kimberly A. Corkill
                                             Attorney
